          Case 1:18-cr-00218-TSC Document 19 Filed 08/06/18 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     :
                                              :
                               Plaintiff,     :
               v.                             :                 Criminal Case: 18-218 (TSC)
                                              :
MARIIA BUTINA,                                :
     also known as Maria Butina               :
                                              :
                               Defendant.     :


                                  NOTICE OF APPEARANCE


       COMES NOW on behalf of the United States of America the undersigned attorney, A.

William Mackie, and hereby gives notice of appearance as co-counsel for the United States in the

captioned case. The undersigned has been duly appointed as a Trial Attorney for the United

States Department of Justice, National Security Division, Counterintelligence and Export Control

Section, and is authorized to participate in case sub judice.

       The undersigned is a member in good standing with the State Bar of North Carolina and

holds State Bar Identification Number 13816. The undersigned has been duly authorized to

appear and submit filings as an attorney for the United States in the United States District Court

of the District of Columbia.

       Respectfully submitted this 6 day of August 2018, in Washington, DC.

                                              s/ A. WILLIAM MACKIE
                                              Trial Attorney
                                              National Security Division
                                              U.S. Department of Justice
                                              600 E. Street NW, Suite 10810
                                              Washington, DC, 20530
                                              (202) 233-2122
                                              (202) 233-2146
                                              N.C. Bar No. 13816
                                              Will.Mackie@usdoj.gov
